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   SO ORDERED.

   SIGNED this 19th day of May, 2017.




C-13-16(FTP)
(Rev. 1/15)
                                UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF NORTH CAROLINA


In Re:                                               )
                                                     )                      ORDER
Graves, Barry Oneil xxx-xx-0687                      )
PO Box 1314                                          )              Case No. 17-10274 C-13G
Mebane, NC 27302                                     )
                                                     )
                                      Debtor.        )


        This case came before the Court for hearing on May 16, 2017, on the Motion filed by the Trustee to dismiss
the Debtor from Chapter 13 prior to confirmation. All necessary parties having been given adequate notice of the
Motion and hearing, the Court finds after hearing on the Motion that the Motion should be denied without prejudice;
therefore, it is

       ORDERED that the Motion by the Trustee to dismiss the Debtor from Chapter 13 prior to confirmation is
denied without prejudice.

                                             END OF DOCUMENT
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                               PARTIES TO BE SERVED
                                    PAGE 1 OF 1
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